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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

NOALA FRITZ et al.,                       :
                                          :
            Plaintiffs,                   :                   Civil Action No.: 15-456 (RDM)
                                          :
v.                                        :
                                          :
ISLAMIC REPUBLIC OF IRAN et al.,          :
                                          :
            Defendants.                   :
..........................................:

                                 PLAINTIFFS’ TRIAL BRIEF

        Pursuant to the Court’s September 15, 2017 Order, Plaintiffs respectfully submit their

trial brief outlining: (1) the factual background of this civil action; (2) the legal background

surrounding the Court’s jurisdiction under 28 U.S.C. § 1605A over Defendants the Islamic

Republic of Iran (“Iran”) and Iran’s Islamic Revolutionary Guard Corps (“IRGC”); and (3) a

summary of the trial evidence Plaintiffs intend to present.

        Plaintiffs in this action are the estates and family members of U.S. service-members

Jacob Fritz, Johnathan Bryan Chism, and Shawn Falter who were abducted and murdered by an

Iranian-supported militia in Karbala, Iraq on January 20, 2007 and U.S. service-member Ahmed

Al-Taie who was abducted in Baghdad, Iraq on October 23, 2006 and subsequently murdered by

an Iranian-supported militia. These two separate incidents of kidnapping and murder are linked

in this action because both were planned and executed mere months apart by the same network

of Iraqi Shia militants acting with the training, funding, direction, and support of Iran and the

IRGC as part of a coordinated scheme by Iran’s government to target U.S. service-members in

Iraq.
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I.         FACTUAL BACKGROUND

           A.         January 2007 Karbala Incident

           On January 20, 2007, U.S. service-members Jacob Fritz, Johnathan Bryan Chism, and

Shawn Falter were murdered while they were held prisoners by agents of the IRGC and

Hezbollah (an Iranian agent and proxy), and members of the Iranian-supported Iraqi militia

called Asaib Ahl al-Haq, also known as the Khazali Network (hereinafter “AAH” or the

“Khazali Network”).                 Earlier that day on Saturday, January 20, AAH militants posing as

American troops infiltrated the Karbala Provincial Joint Coordination Center (“PJCC”) and took

captive U.S. Service-members Fritz, Chism, and Falter and one of their colleagues. The U.S.

Service-members, some of whom were wounded during their capture, were handcuffed together

in the back of SUVs, made to look like U.S. vehicles, and driven in the direction of the Iranian

border. When the kidnappers were unable to get past an Iraqi checkpoint and proceed into Iran,


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they subsequently executed Jacob Fritz, Johnathan Bryan Chism, Shawn Falter, and the fourth

solider, Brian Freeman. 1

           In March 2007, the U.S. military captured Ali Musa Daqduq (a longtime Lebanese

Hezbollah member and leader and a liaison for the IRGC-Qods Force to Iraqi Special Groups

such as AAH), Qais Khazali (Head of AAH) and Laith Khazali (a member of AAH). These

individuals admitted to their involvement in the attacks during their detention and described the

material support which they had received from Iran and the IRGC’s Qods Force for their

activities in Iraq, including the January 20 attack on the Karbala PJCC. During a July 2, 2007

public press conference and through accompanying presentation slides titled “Multi-National

Force – Iraq, Situational Update,” the U.S. Army disclosed copies or excerpts from terrorist

training manuals, a journal, identification documents, and written summaries of prior attacks and

kidnappings obtained from Daqduq. The Army Press Officer at the time, Brigadier General

Kevin Bergner also explicitly stated that it was “important to point out that both Ali Musa

Daqduq and Qais Khazali state that senior leadership within the Qods Force knew of and

supported planning for the eventual Karbala attack that killed five coalition soldiers” and

that “Ali Musa Daqduq contends that the Iraqi special groups could not have conducted

this complex operation without the support and direction of the Qods Force.” Transcript of

General Bergner’s July 2, 2007 Press Conference (emphasis added).

           B.        Abduction and Murder of Ahmed Al-Taie

           Staff Sergeant Ahmed Al-Taie was deployed by the U.S. Army to Baghdad in 2005 as

part of a Provincial Reconstruction Team in Iraq and served as a translator. On October 23, 2006

Ahmed Al-Taie, who was a U.S. citizen born in Iraq, left the secure Green Zone in Baghdad to

visit family. During this visit, a group of masked gunmen seized Staff Sergeant Al-Taie, forced

1
    The estate and family of Brian Freeman are not parties to this litigation.

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him into a car, and drove away. On February 14, 2007, a Shiite militant group called Ahl al-Bayt

Brigades, which is part of AHH, posted a video online of Ahmed Al-Taie in captivity. U.S.

Government reports detail that Qais Khazali later confirmed to U.S. officials that AAH itself was

holding Mr. Al-Taie. U.S. Government reports also confirm that U.S. officials were tracking Mr.

Al-Taie’s movements by his captors through at least the end of 2010. On February 22, 2012,

AAH turned over Mr. Al-Taie’s remains to the Iraqi government under the terms of an amnesty

agreement. Mr. Al-Taie’s autopsy results confirm he was murdered and suffered torture prior to

his death in approximately late 2010 or early 2011.

        C.       Iran’s Material Support for Iraqi Special Groups

        The IRGC is a military institution within the Iranian government charged with preserving

the ideals of the Islamic Republic by targeting the nation’s enemies. Iranian Supreme Leader Ali

Khamenei created the Qods Force in the 1990s as part of his effort to expand the IRGC. The

Qods Force is a special branch of the IRGC tasked with extending the IRGC’s mission beyond

Iran’s borders and carries out Iran’s extraterritorial and clandestine operations, including

cultivating and supporting pro-Iran proxies. The Qods Force commander, General Qasem

Soleimani, reports directly to Iran’s Supreme Leader. IRGC-Qods Force has facilitated and

executed acts of international terrorism, prompting the U.S. Treasury Department to designate it

a Specially Designated Global Terrorist (SDGT) on October 25, 2007. 2

        Iran and the IRGC-Qods Force also rely on their long-time proxy, Hezbollah, 3 to

facilitate acts of international terrorism. Iran played a role in organizing Hezbollah when the



2
  U.S. Department of the Treasury, press release, “Fact Sheet: Designation of Iranian Entities and Individuals for
Proliferation Activities and Support for Terrorism,” October 25, 2007, available at https://www.treasury.gov/press-
center/pressreleases/Pages/hp644.aspx. Such designations occur under the authority granted by Executive Order
13224.
3
  Hezbollah has been a U.S. designated Foreign Terrorist Organization since October 8, 1997. See
https://www.state.gov/j/ct/rls/other/des/123085.htm

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group was founded, and it is one of the few Shia groups outside Iran to accept the doctrine of

“velayat-e faqih” (guardianship of the jurist), which characterizes Iran’s Supreme Leader as the

highest political power and paramount religious authority. It is widely acknowledged that “Iran

is Hezbollah’s primary benefactor, giving the Lebanese political party and militant group some

$200 million a year in addition to weapons, training, intelligence, and logistical assistance.” 4 At

the direction of Iran, Hezbollah began training Shiite paramilitary “Special Groups” in Iraq and

Iran shortly after the U.S. and Coalition Forces invasion of Iraq in 2003.

        Iran and the IRGC’s support for terrorist groups in Iraq such as the Shia Special Groups,

including AAH, is well-documented in U.S. Government sources, findings, terrorism

designations, and reports and undisputed even by the perpetrators of the abduction and murders

themselves. The U.S. State Department’s 2007 Country Report on Terrorism noted that that

“Iranian authorities continued to provide lethal support, including weapons, training,

funding, and guidance, to some Iraqi militant groups that target Coalition and Iraqi

security forces and Iraqi civilians.” 5 On September 12, 2007 at an authorized press event

following his Congressional Testimony, the then Commander of Multi-National Forces in Iraq,

General David Petraeus, repeated the U.S. Government’s determination that the Khazali network

could not have carried out the attacks on Coalition Forces, including the Karbala attack, without

Iranian support:

        “We interrogated these individuals. We have on tape -- we have shown it to senior
        Iraqi leaders -- Qais Khazali himself. When asked, could you have done what you
        have done without Iranian support, he literally throws up his hands and laughs and
        says, of course not. And again we have shown that to Iraqi leaders, several of whom

4
  Matthew Levitt, “Hezbollah’s Growing Threat Against U.S. National Security Interests in the Middle East,”
Testimony before the House Foreign Affairs Subcommittee on the Middle East and North Africa, March 22, 2016,
available     at    http://www.washingtoninstitute.org/policy-analysis/view/hezbollahs-growing-threat-against-u.s.-
national-securityinterests-in-the-m.
5
  U.S. State Department’s 2007 Country Report on Terrorism, Chapter 3 – State Sponsors of Terrorism Overview
(April 30, 2008) (emphasis added), available at https://www.state.gov/j/ct/rls/crt/2007/103711.htm

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        then went to Iran and made their case quite forcefully about their concern of
        Iranian involvement.

        So they told us about the amounts of money that they have received. They told us
        about the training that they received. They told us about the ammunition and
        sophisticated weaponry and all of that that they received.” 6

        The information and materials obtained as a result of the March 2007 capture of Ali

Musa Daqduq, Qais Khazali, and Laith Khazali were later used to support a February 2012

Office of Military Commissions charge sheet against Mr. Daqduq. In November 2012, the U.S.

Department of the Treasury designated Ali Musa Daqduq based on his participation in numerous

attacks against Coalition Forces in Iraq, “including planning an attack on the Karbala Joint

Provincial Coordination Center (JPCC) on January 20, 2007, which resulted in the deaths

of five U.S. soldiers.” 7 The Treasury Department statement noted that “[t]hese terrorist acts are

in some cases funded, coordinated, and carried out in concert with the Iranian Revolutionary

Guard Corps-Qods Force (IRGC-QF)” and “Hizballah, along with its Iranian allies, trained and

advised Iraqi militants to carry out numerous terrorist attacks against Coalition and Iraqi forces.”

        More recently, in an interview on the U.S. television documentary program “Frontline,”

Qais Khazali confirmed what had long been recognized by the U.S. Government—that Iran

provided direct support for AAH to facilitate attacks on U.S. and Coalition Forces. Mr. Khazali

admitted that “Iran supports all the resistance movements in the region. During the occupation

[of Iraq], the resistance had good relations with the Islamic Republic. For Iran, to support the

resistance in Iraq the same way it supports other resistance movement is no longer a secret.” 8



6
  Press Conference with General David Petraeus and Ryan Crocker, U.S. Ambassador to Iraq, September 12, 2007
(emphasis added).
7
  U.S. Department of the Treasury Press Release, “Treasury Designates Hizballah Commander Responsible for
American Deaths in Iraq,” November 19, 2012 (emphasis added), available at https://www.treasury.gov/press-
center/press-releases/Pages/tg1775.aspx
8
  Transcript and Video of Frontline Interview with Qais Khazali, “Bitter Rivals: Iran and Saudi Arabia,” February
21, 2018 (at approximately 1:40 of Volume 1).

                                                       6
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II.     LEGAL BACKGROUND

        A.      Subject Matter Jurisdiction under Section 1605A of the FSIA

        Jurisdiction over Iran and the IRGC in this action is premised on 28 U.S.C. §§ 1330(a),

1331, 1332(a)(2), and 1605A. The Foreign Sovereign Immunities Act, 28 U.S.C. §§ 1602–1611

(“FSIA”), provides the sole basis for obtaining jurisdiction over a foreign state in the United

States. Argentine Republic v. Amerada Hess Shipping Corp., 488 U.S. 428, 434 (1989). Under

the FSIA, a court can assert personal jurisdiction over a defendant if the state is properly served

in accordance with 28 U.S.C. § 1608. See 28 U.S.C. § 1330(b); Stern v. Islamic Republic of

Iran, 271 F. Supp. 2d 286, 298 (D.D.C. 2003) (Lamberth, J.). Service in this case on Iran was

properly effected on Iran on January 31, 2017. (Dkt. 19). Service on the IRGC was properly

effected on December 10, 2017. (Dkt. 30).

        Subject matter jurisdiction exists if the defendant’s conduct falls within one of the

specific statutory exceptions to immunity. See 28 U.S.C. §§ 1330(a); 1604. Here, Defendants’

conduct falls within the “state sponsor of terrorism” exception set forth at 28 U.S.C. § 1605A.

28 U.S.C. § 1605A strips immunity “in any case . . . in which money damages are sought against

a foreign state for personal injury or death that was caused by an act of . . . extrajudicial killing . .

. or the provision of material support or resources for such an act if such an act or provision of

material support or resources is engaged in by an official, employee, or agent or such foreign

state while acting within the scope of his or her office, employment, or agency.” 28 U.S.C. §

1605A(a)(1).

        B.      Federal Cause of Action under Section 1605A(c)

        Section 1605A(c) creates a federal cause of action for any “national of the United States,”

“member of the armed forces,” U.S. government employee, or their legal representative for an



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act of “torture, extrajudicial killing . . . or the provision of material support or resources for such

act” if the “claimant or the victim” was at the time the act occurred a U.S. citizen, a member of

the Armed Forces or an employee of the United States which allows such person to collect

“economic damages, solatium, pain and suffering, and punitive damages.”                              28 U.S.C. §

1605A(a)(1), (a)(2)(A)(ii), (c) (emphasis added). The four U.S. Service-members all of their

family members, except one, 9 are U.S. nationals and thus have federal causes of action under

Section 1605A(c). See e.g., Valore v. Islamic Republic of Iran, 700 F. Supp. 2d 52, 73 (D.D.C.

2010). The single non-U.S. national has causes of action under applicable state law through the

jurisdiction conferred by Section 1605A(a).

         Section 1605A(c)’s private right of action has four basic elements. A plaintiff must

prove:

         (1) “an act of torture, extrajudicial killing, aircraft sabotage, hostage taking, or the
         provision of material support or resources for such an act” where
         (2) the act was committed, or the material support was provided, by the foreign state or
         agent of the foreign state, and the act
         (3) caused personal injury or death
         (4) “for which courts of the United States may maintain jurisdiction under this section for
         money damages.”
         Shoham v. Islamic Republic of Iran, 2017 WL 2399454, at 17 (D.D.C. 2017) (citing

Section 1605A(a)(1), (c)).

         The definitions of “torture,” and “extrajudicial killing,” at Section 1605A(h) follow the

definitions set forth in the Torture Victims Protection Act of 1991. “Torture” is defined as:


9
  One of the Plaintiff family members, Mr. Bashar Al-Taie, who is a brother of Staff Sergeant Al-Taie, is not a
United States citizen. The Amended Complaint erroneously describes Bashar Al Taie as “a citizen of the United
States of America who resides in the state of Michigan.” Plaintiffs will correct this error through a separate motion
filed prior to trial. Although Bashar Al Taie does not have a substantive federal cause of action under Section
1605A(c), he is still entitled as noted above to seek recovery under applicable state law pursuant to the jurisdiction
conferred by Section 1605A(a). See, e.g., Owens v. Republic of Sudan, 864 F.3d 751, 809 (D.C. Cir. 2017) (“Of
course, in most cases brought under the new terrorism exception, the plaintiff need not rely upon state tort law” but
“[t]his does not, however, imply that the Congress intended to foreclose access to state law by those who need it, as
do foreign family members”).

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       “[1] any act, [2] directed against an individual in the offender’s custody or physical
       control, [3] by which severe pain or suffering (other than pain or suffering arising only
       from or inherent in, or incidental to, lawful sanctions), whether physical or mental, [4] is
       intentionally inflicted on that individual [5] for such purposes as obtaining from that
       individual or a third person information or a confession, punishing that individual for an
       act that individual or a third person has committed or is suspected of having committed,
       intimidating or coercing that individual or a third person, or for any reason based on
       discrimination of any kind.”

Torture Victim Protection Act of 1991 (set forth as a note to 28 U.S.C. § 1350); 28 U.S.C. §

1605A(h)(7).

       “Extrajudicial killing,” in turn, is defined as: [1] “a deliberated killing [2] not authorized

by a previous judgment pronounced by a regularly constituted court [3] affording all the judicial

guarantees which are recognized as indispensable by civilized peoples” and [4] that, under

international law, is not lawfully carried out “under the authority of a foreign nation.” Torture

Victim Protection Act of 1991 (set forth as a note to 28 U.S.C. § 1350); 28 U.S.C. §

1605A(h)(7).

       Section 1605A(h)(2)’s “definition of ‘hostage taking’ incorporates the definition from

Article 1 of the International Convention Against the Taking of Hostages . . . and that definition

applies to a person who ‘seizes or detains and threatens to kill, to injure or to continue to detain

another person.’” Mohammadi v. Islamic Republic of Iran, 782 F.3d 9, 16 (D.C. Cir. 2015); 28

U.S.C. § 1605A(h)(2).

       Finally, the definition of “material support or resources” in Section 1605A is drawn from

the Anti-Terrorism Act, 18 U.S.C. § 2339A, and is defined as:

       “any property, tangible or intangible, or service, including currency or monetary
       instruments or financial securities, financial services, lodging, training, expert advice or
       assistance, safehouses, false documentation or identification, communications equipment,
       facilities, weapons, lethal substances, explosives, personnel . . . , and transportation,
       except medicine or religious materials.”



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18 U.S.C. § 2339A(b)(1); 28 U.S.C. § 1605A(h)(3).
       C.      Elements of Common Law Claims

       Section 1605A(c) imposes liability on “any foreign state that is or was a state sponsor of

terrorism” and “any official, employee, or agent of that foreign state while acting within the

scope of his or her office, employment, or agency.” As these elements make clear, liability under

Section 1605A is premised on the existence of an underlying injury resulting in damages.

Federal courts in the District of Columbia “rely on well-established principles of law, such as

those found in the Restatement (Second) of Torts and other leading treatises, as well as those

principles that have been adopted by the majority of state jurisdictions” to define the elements

and scope of these theories of recovery. Oveissi, 879 F.Supp.2d at 54 (quoting In re Islamic

Republic of Iran Terrorism Litig., 659 F. Supp. 2d 31, 61 (D.D.C. 2009)). These courts have

“recognized that the laws of this District are an appropriate model for the development of a

federal standard with respect to liability in actions against state sponsors of terrorism.” In re

Islamic Republic of Iran Terrorism Litig., 659 F.Supp.2d at 100 (citation omitted).           The

Amended Complaint includes cause of action for: (1) wrongful death and survival; (2) battery;

(3) assault; (4) false imprisonment and kidnapping; (5) civil conspiracy and aiding and abetting;

(6) intentional infliction of emotional distress; and (7) punitive damages. Each of these claims

for relief looks to, and is based upon, prior written precedent established by the judges of this

Circuit, a small number of those opinions are cited below.

               1.     Wrongful Death and Survival Claims

       To prove a wrongful death claim under D.C. Law, “a decedent’s heirs may pursue claims

for economic losses which result from a decedent’s premature death” if they can prove the “(1) .

. . the loss of financial support the decedent could have been expected to provide the next of kin



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had he lived; and (2) the value of lost services (e.g., care, education, training, and personal

advice).” Herbert v. D.C., 808 A.2d 776, 778 n. 2 (D.C. 2002).

        A survival claim is simply a claim “that could have been brought by the decedent, had he

lived to bring it.” Valore, 700 F.Supp.2d at 77 (citing Restatement (Second) of Torts § 926);

D.C. Code § 12-101.        The recovery is limited, however, to harms suffered before death.

Restatement (Second) of Torts § 926(a). Thus, it is mechanism for obtaining compensation for

“pain and suffering” of the victim prior to death.

                2.      Battery

        To prove the Defendants are liable for battery, Plaintiffs must prove that the defendants:

(1) “acted ‘intending to cause a harmful or offensive contact with ..., or an imminent

apprehension of such a contact’ by, those attacked and (2) ‘a harmful contact with’ those

attacked ‘directly or indirectly result[ed].’” Valore, 700 F. Supp. 2d at 77 (alterations in original)

(quoting Restatement (Second) of Torts § 13). Federal courts have concluded that for purposes

of the first element, “acts of terrorism are, by their very nature, intended to harm and to terrify by

instilling fear of further harm.” Id.

                3.      Assault

        To prove the Defendants are liable for assault, Plaintiffs must prove that when Iran

committed extrajudicial killing or provided material support and resources therefore: (1) it acted

“intending to cause a harmful contact with . . . , or an imminent apprehension of such a contact”

by, those attacked and (2) those attacked were “thereby put in such imminent apprehension.”

Murphy v. Islamic Republic of Iran, 740 F.Supp.2d 51, 73 (D.D.C. 2010).




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               4.     False Imprisonment and Kidnapping

       To prove the defendants are liable for false imprisonment, plaintiffs must prove that

defendants: (1) acted intending to confine [a person] within boundaries fixed by the defendants;

(2) the act directly or indirectly resulted in such a confinement of the victim, and (3) the victim

was conscious of the confinement or was harmed by it. See e.g., Sutherland v. Islamic Republic

of Iran, 151 F.Supp.2d 27, 49 (D.D.C. 2001).

               5.     Civil Conspiracy and Aiding and Abetting

       Under D.C. law, the elements of civil conspiracy are: (1) an agreement between two or

more persons or entities; (2) to participate in an unlawful act or in an otherwise lawful act in an

unlawful manner; (3) that an injury or death or other damages was caused by an unlawful overt

act performed by one of the parties to the agreement; and (4) pursuant to or in furtherance of the

common scheme.       See Acosta v. Islamic Republic of Iran, 574 F.Supp.2d at 27 (citing

Halberstam v. Welch, 705 F.2d 472, 477 (D.C. Cir. 1983)); accord Valore v. Islamic Republic of

Iran, 478 F.Supp.2d 101, 108–09 (D.D.C. 2007) (civil conspiracy basis for vicarious liability

established with respect to Iran and MOIS’ provision of “material support and resources to

Hezbollah” to bomb U.S. Marine barracks in Beirut).

       To prove aiding and abetting liability against the defendants, the plaintiffs must show

that: “(1) the party the defendant aids must perform a wrongful act that causes an injury; (2) the

defendant must be generally aware of his role as part of an overall illegal or tortious activity at

the time he provides the assistance; and (3) the defendant must knowingly and substantially

assist the principal violation.” Halberstam, 705 F.2d at 483.




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                  6.       Intentional Infliction of Emotional Distress Including Solatium

          The family members of the direct victims in this case have all brought claims for

solatium damages, as provided by 28 U.S.C. § 1605A(c). Plaintiffs will separately submit

briefing on the issues of damages to the Special Master appointed in this matter for later

consideration by the Court. Although the Court need not address these issues during the April

2018 liability hearing, for the convenience of the Court, Plaintiffs provide an overview of such

claims.

          Courts in D.C. “have generally viewed solatium and intentionally inflicted emotional

distress claims as being closely connected.” Belkin v. Islamic Republic of Iran, 667 F.Supp.2d 8,

22 (D.D.C. 2009). To prove liability for intentional infliction of emotion distress or solatium,

plaintiffs must demonstrate: (1) extreme and outrageous conduct on the part of the defendants,

which (2) intentionally or recklessly (3) causes the plaintiff severe emotional distress. See e.g.,

Futrell v. Dep’t of Labor Fed. Credit Union, 816 A.2d 793, 808 (D.C. 2003). “[A]cts of

terrorism are by their very definition intended to cause the highest degree of emotional distress,

literally, terror, in their targeted audience.” Stethem v. Islamic Republic of Iran, 201 F.Supp.2d

78, 89 (D.D.C. 2002). The “intent to create maximum emotional impact, particularly on third

parties, is terrorism’s raison d’etre.” Estate of Heiser v. Islamic Republic of Iran, 659 F.Supp.2d

20, 27 (D.D.C. 2009). Federal judges in this Circuit previously have held that one “need not be

present at the time of a terrorist attack upon a third person to recover for severe emotional

injuries suffered as a result.” Valore, 700 F.Supp.2d at 80. 10


10
   The D.C. Circuit has recently certified to the District of Columbia Court of Appeals the question whether a
plaintiff must be physically present at the site of the tort to recover IIED damages under the law of the District of
Columbia. Owens v. Republic of Sudan, 864 F.3d 751, 825 (D.C. Cir. 2017). As noted above, all Plaintiffs except
one are able to utilize the federal cause of action at Section 1605A(c), which district courts in this Circuit have ruled
does not require presence for an award of damages for infliction of emotional distress and injury. Thus, the Owens
proceeding may only impact one plaintiff in this case and only to the extent that the Court were to choose D.C. law
in a choice of law analysis for the single non-U.S. national Plaintiff. Of course, even with regard to that single

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                  7.       Punitive Damages

         Plaintiffs have also asserted claims for punitive damages against Defendants arising from

the abduction and murder of Jacob Fritz, Johnathan Bryan Chism, Shawn Falter, and Ahmed Al-

Taie. Through Section 1605A(c), Congress expressly authorized “punitive damages” without

temporal limitation. Moreover, the enacting legislation (codified as a note to § 1605A) provides

that “[t]he amendments made by this section shall apply to any claim arising under section

1605A of title 28, United States Code.” Note to Section 1605A, Pub. L. No. 110–181, § 1083(c),

122 Stat. 3, 342–43. Federal courts generally calculate the proper amount of punitive damages

by considering “four factors: (1) the character of the defendants’ act, (2) the nature and extent of

harm to the plaintiffs that the defendants caused or intended to cause, (3) the need for deterrence,

and (4) the wealth of the defendants.” Moradi v. Islamic Republic of Iran, 77 F.Supp.3d 57, 73

(D.D.C. 2015) (quoting Oveissi, 879 F.Supp.2d at 56). 11 Plaintiffs will submit separate briefing

on punitive damages to the Special Master for consideration by the Court. The Court need not

address this issue at the April 2018 liability hearing.

III.     TRIAL EVIDENCE

         To obtain a default judgment in this proceeding, Plaintiffs must show that: (1) Iran was

designated as a state sponsor of terrorism when the act occurred; (2) that Plaintiffs were either

themselves nationals of the United States, members of the armed forces, or U.S. Government



plaintiff, the Court may enter an award of solatium damages pending the D.C. Court of Appeals decision.
11
   The D.C. Circuit recently held that punitive damages under Section 1605A(c) are not retroactive to the enactment
of Section 1605A in 2008 and, thus, not available retroactively under state or federal law for conduct that preceded
the enactment of statute in 2008. Owens v. Republic of Sudan, 864 F.3d 751, 818, 825 (D.C. Cir. 2017). However,
in Republic of Austria v. Altmann, 541 U.S. 677, 696 (2004), the Supreme Court held that the presumption against
retroactivity outlined in Landgraf v. USI Film Prods., 511 U.S. 244, 267 (1994) does not apply to the FSIA. The
D.C. Circuit’s decision is now before the U.S. Supreme Court on a petition for a writ of certiorari. If that holding is
not overturned, it could impact the ability of the victims of the Karbala attack to recover punitive damages.
However, since the evidence will show that Ahmed Al-Taie was killed in captivity after the enactment of Section
1605A(c) in January 2008, the Owens decision will not prevent the award of punitive damages arising from his
kidnapping and death.

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employees at the time of the attacks, or their claims are derived from claims where the victims

were members of one of those categories; and (3) that Plaintiffs’ injuries were caused by the

defendants’ actions or the actions of their agents or co-conspirators. See e.g., Owens v. Republic

of Sudan, 826 F.Supp.2d 128, 149 (D.D.C. 2011), affirmed on liability and vacated, in part, on

damages, 864 F.3d at 813-814. Plaintiffs can meet all of these elements.

       First, Iran was a designated state sponsor of terrorism as the time of the attacks and

abductions described in the Amended Complaint and remains so today. U.S. Dep’t of State,

Determination Pursuant to Section 6(i) of the Export Administration Act of 1979—Iran, 49 Fed.

Reg. 2836, Jan. 23, 1984 (designating Iran as a state sponsor of terrorism for the first time upon

concluding that “Iran is a country which has repeatedly provided support for acts of international

terrorism”).   Second, Plaintiffs will present evidence that all of the direct victims of the

underlying terrorist attacks in this action were U.S. citizens and members of the U.S. Armed

Forces at the time they were abducted and murdered. Finally, Plaintiffs will present substantial

evidence that the abduction and murders were carried out by AAH/Khazali Network and

Hezbollah acting with the material support of Iran and the IRGC’s Qods Force. Below is an

outline of Plaintiffs’ evidentiary burden in this action and a brief summary of evidence that will

meet this burden.

       A.      Plaintiffs’ Burden under Section 1608(e)

       To obtain a default judgment under Section 1605A, a plaintiff must demonstrate a right to

relief “by evidence satisfactory to the court,” 28 U.S.C. § 1608(e), a standard that may be met

“through uncontroverted factual allegations, which are supported by . . . documentary and

affidavit evidence.” Valore v. Islamic Republic of Iran, 700 F.Supp.2d 52, 59 (D.D.C. 2010)

(emphasis added and internal quotation marks omitted). “This ‘satisfactory to the court’ standard



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is identical to the standard for entry of default judgments against the United States in Federal

Rule of Civil Procedure 55(e)” and “[i]n evaluating the plaintiffs’ proof, the court may ‘accept as

true the plaintiffs’ uncontroverted evidence.” Campuzano v. Islamic Republic of Iran, 281 F.

Supp. 2d 258, 268 (D.D.C. 2003) (citations omitted). In meeting this burden, the U.S. Court of

the Appeals for the D.C. Circuit has recently observed that a “district court also has an unusual

degree of discretion over evidentiary rulings in a FSIA case against a defaulting state sponsor of

terrorism”:

         “For example, we have allowed plaintiffs to prove their claims using evidence that might
         not be admissible in a trial. See Han Kim v. Democratic People’s Republic of Korea, 774
         F.3d 1044, 1048-51, 413 U.S. App. D.C. 356 (D.C. Cir. 2014) (noting “courts have the
         authority — indeed, we think, the obligation — to adjust evidentiary requirements to
         differing situations” and admitting affidavits in a FSIA default proceeding) (internal
         alterations and quotation marks removed). This broad discretion extends to the admission
         of expert testimony, which, even in the ordinary case, “does not constitute an abuse of
         discretion merely because the factual bases for an expert’s opinion are weak.” Joy v. Bell
         Helicopter Textron, Inc., 999 F.2d 549, 567 (D.C. Cir. 1993). Section 1608(e) does not
         require a court to step into the shoes of the defaulting party and pursue every possible
         evidentiary challenge; only where the court relies upon evidence that is both clearly
         inadmissible and essential to the outcome has it abused its discretion. This is part of the
         risk a sovereign runs when it does not appear and alert the court to evidentiary problems.
         Cf. Bell Helicopter Textron, 734 F.3d at 1181.”

Owens v. Republic of Sudan, 864 F.3d 751, 785-86 (D.C. Cir. 2017).

         B.       Witnesses

         Below is a list of the anticipated trial witnesses and a brief summary of their anticipated

testimony. 12

                  1.       Fact Witnesses

                       o   George Casey, General, U.S. Army (ret.)
                       o   Kevin Bergner, Brigadier General, U.S. Army (ret.)
                       o   William Rabena, Colonel, U.S. Army (ret.)
                       o   Kirk Alkire, First Sergeant, U.S. Army (ret.)
                       o   Noala Fritz, Mother of Jacob Fritz

12
   Plaintiffs may supplement or amend this list prior to April 6, 2018, the date on which the Court ordered Plaintiffs
to submit their trial witnesses and exhibits.

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                      o Linda Falter, Mother of Shawn Falter
                      o Julie Chism, Sister of Johnathan Bryan Chism
                      o Hathal K. Taie, Brother of Ahmed Al-Taie

                 2.       Expert Witnesses

                      o Dr. Matthew Levitt, Expert on Iran and Iranian support of Terrorism in
                        Iraq
                      o Dr. Daveed Gartenstein-Ross, Expert in Iranian support of Terrorism in
                        Iraq
                      o Dr. Craig Mallak, Forensic Pathology Expert

                 3.       Summary of Anticipated Testimony

        Plaintiffs will offer direct testimony from four former U.S. military officials: (1) George

Casey, General, U.S. Army (ret.); (2) Kevin Bergner, Brigadier General, U.S. Army (ret.); (3)

Colonel William Rabena, Colonel, U.S. Army (ret.); and (4) Kirk Alkire, former First

Sergeant, U.S. Army. 13

             •   Consistent with prior public statements, Generals Casey and Bergner will testify
                 about their personal knowledge of Iran’s support of AAH/Special Groups in Iran.
                 General Bergner will specifically describe his knowledge of the Karbala attack.

             •   Colonel Rabena will testify regarding the Karbala attack and the after-incident
                 report he was commissioned to generate regarding the attacks pursuant to Army
                 Regulation 15-6 (“AR 15-6 Report”). He will outline the sophistication of the
                 Shia militants who infiltrated the Karbala PJCC and highlight the specific
                 elements of the attack which strongly support the conclusion that the militants
                 were well-funded and well-trained.

             •   Sergeant Alkire was part of the same unit as the direct victims of the Karbala
                 attack and will testify regarding his recollection of the events that day as well as
                 details regarding the PJCC compound, the work at the PJCC, and the attack itself.

        Plaintiffs intend to offer expert testimony pursuant to Federal Rule of Evidence 702 from

three witnesses whose background and professional experience qualify as “specialized

knowledge” gained through “experience, training, or education,” Fed. R. Evid. 702, and who


13
  On March 7, 2018, Counsel obtained a Touhy waiver from the Department of the Army pursuant to 32 CFR
516.41(d) to clear the anticipated testimony of these witnesses involving “official information” learned during the
performance of official duties.

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have been qualified as expert witnesses on prior occasions: (1) Dr. Matthew Levitt; (2) Dr.

Daveed Gartenstein-Ross; and (3) Dr. Craig Mallak.

          •   Dr. Matthew Levitt is a leading scholar on terrorism, a former Deputy Assistant
              Secretary for Intelligence and Analysis at the United States Treasury Department,
              and a former FBI investigator. Mr. Levitt has been qualified testify as an expert
              on Hezbollah and international terrorism in similar civil actions in this court,
              Wyatt v. Syrian Arab Republic, 908 F.Supp.2d 216, 222 (D.D.C. 2012), and has
              testified a number of times in criminal trials on behalf of the United States
              Government following voir dire examination and challenge by defense counsel.
              See, e.g., United States v. Kadir, 718 F. 3d 115, 121-122 (2d Cir. 2013); Odeh v.
              United States, 2015 WL 1442836, at *4 (N.D. Tex. Mar. 30, 2015); United States
              v. Defreitas, No. 07–CR–543, 2011 WL 317964, at *4–7 (E.D.N.Y. Jan. 31,
              2011). Dr. Levitt will provide expert testimony regarding the organizational
              structure of Hezbollah, its relationship with Iran, and Iran’s use of Hezbollah and
              other proxies in Iraq. Dr. Levitt’s testimony will establish that Iran directed
              Hezbollah operatives in Iraq to train Shia Special Groups and provided such
              militias with funding and, in some cases, direction resulting in abductions and
              murders.

          •   Dr. Daveed Gartenstein-Ross is the Chief Executive Officer of Valens Global, a
              private commercial entity that focuses on the challenges posed by international
              terrorist organizations. He previously served as an Adjunct Assistant Professor in
              Georgetown University’s Security Studies Program, where he taught a course on
              Violent Non-State Actors. Dr. Gartenstein-Ross has worked as a consultant for
              the U.S. Government and has testified previously in similar matters in this Court.
              See, Foley v. Syrian Arab Republic, 249 F.Supp.3d 186 (D.D.C. 2017). Dr.
              Gartenstein-Ross will testify that AAH/the Khazali Network was an Iranian-
              supported Shia militia that is responsible for the abduction and murder of the
              victims in this case and that AAH/the Khazali Network received funding, training,
              and direction from Iran and the IRGC. Dr. Gartenstein-Ross will also
              authenticate and testify regarding internet videos in which AAH and an affiliated
              Shia militia took responsibility for the abductions and murders.

          •   Dr. Craig Mallak is a forensic pathologist. He was the U.S. Armed Forces
              Medical Examiner during the time period in which the direct victims in this case
              were murdered. Dr. Mallak has regularly been required to make official
              determinations not only as to cause of death but also as to whether deceased
              individuals were subjected to torture prior to their death. Dr. Mallak will testify
              that all four U.S. service-members killed in this case died as a result of homicide
              and suffered torture prior to their deaths. With respect to Mr. Al-Taie, Dr. Mallak
              will also provide testimony based on his professional experience and training and
              the condition of the remains as to the approximate timing of the death of Mr. Al-
              Taie.


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        Plaintiffs will also offer testimony from a single representative from each of the families

to provide the Court with insights into the life and service of each of the four U.S. Service-

members: (1) Noala Fritz, mother of Jacob Fritz; (2) Linda Falter, mother of Shawn Falter; (3)

Julie Chism, sister of Johnathan Bryan Chism; and (4) Hathal K. Taie, brother of Ahmed Al-

Taie.

        C.     Exhibits

        The Court has directed that the Plaintiffs submit their exhibit list on April 6, 2018. To

provide the Court with a preliminary review of the anticipated exhibits, attached at Appendix A

is a chart listing the principal exhibits which the Plaintiffs anticipate seeking to admit at the

upcoming liability hearing. The Plaintiffs will supplement and update their exhibit list prior to or

on April 6 and will provide the Court with a working-set of exhibits before trial.

        D.     Evidentiary Issues

               1.      Government Reports and Public Statements by Government Officials

        Plaintiffs will seek to admit a number of government reports and statements by

Government officials under Federal Rule of Evidence 803(8) which permits the admission of a

record or statement of a public office if it sets out: “(i) the office’s activities; (ii) a matter

observed while under a legal duty to report, but not including, in a criminal case, a matter

observed by law-enforcement personnel; or (iii) in a civil case or against the government in a

criminal case, factual findings from a legally authorized investigation.”              Fed. R. Evid.

803(8)(A) (emphasis added).          For example, Plaintiffs will offer copies of government

investigative reports such as the U.S. Army official report AR 15-6 relating to the Karbala attack

and reports relating to the abduction and murder of Mr. Al-Taie. Plaintiffs will also rely on other

public reports, such as the U.S. State Department’s 2007 Report on Terrorism regarding Iranian



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support for Special Groups in Iraq and the attacks carried out on U.S. forces such as those in

Karbala and with respect to Mr. Al-Taie.

       Courts in similar matters have held that public reports may be extensively relied upon to

support claims against a state sponsor or terrorism. See, e.g., Owens v. Republic of Sudan, 864

F.3d 751, 792 (D.C. Cir. 2017) (“Pursuant to the ‘broad approach to admissibility’ under Rule

803(8), a court may also admit ‘conclusion[s] or opinion[s]’ contained within a public record. . . .

The State Department’s Patterns of Global Terrorism reports fit squarely within the public

records exception.”). “The party opposing the admission of the report has the burden of proving

the report’s untrustworthiness. Union Pac. R.R. Co. v. Kirby Inland Marine, Inc. of Miss., 296

F.3d 671, 679 (8th Cir. 2002) (citing Moss v. Ole S. Real Estate, Inc., 933 F.2d 1300, 1304 (5th

Cir. 1991). “When evaluating the trustworthiness of a factual report, [courts] look to (a) the

timeliness of the investigation, (b) the special skills or experience of the official, (c) whether a

hearing was held and the level at which it was conducted, and (d) possible motivation problems.

Bridgeway Corp. v Citibank, 201 F. 3d 134, 143 (2d Cir. 2000) (citing Fed. R. Evid. 803(8)(C)).

“The Rule 803 trustworthiness requirement, therefore, means that the trial court is to determine

primarily whether the report was compiled or prepared in a way that indicates that its

conclusions can be relied upon.” Union Pac. R.R. Co., 296 F.3d at 679 (citing Moss, 933 F.2d at

1307). All of the reports that Plaintiffs seek to admit on this basis meet this standard of

trustworthiness.

       In addition to reports, Plaintiffs also seek to admit official public statements by U.S.

Government officials relating to the underlying attacks and Iran’s support of Special Groups in

Iraq. The Supreme Court has interpreted Rule 803(8) exception to the hearsay rule broadly to

include both conclusions and opinions of public offices and agencies. See Beech Aerospace



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Services, Inc. v. Rainey, 488 U.S. 153, 162 (1988) (“[F]actually based conclusions or opinions

are not on that account excluded from the scope of Rule 803(8)(C).”). Case law applying Rule

803(8) suggests that this hearsay exception encompasses statements made by government

officials even in the absence of any express duty to report. See, e.g., Washington-El v. Beard,

2013 WL 1314528, at *7 (W.D. Pa. Feb. 26, 2013) (holding DOJ press release admissible under

803(8) because it detailed the office’s activities); General Mills Operations, LLC v. Five Star

Custom Foods, Ltd., 703 F.3d 1104, 1108-1109 (8th Cir. 2013) (holding USDA press release

admissible because it detailed findings from a legally authorized investigation and admitting

public statements by USDA official detailing investigation on same basis).

       Here, many of the underlying investigation reports were explicitly prepared pursuant to

military regulations (e.g., reports prepared according to Army Regulation 15-6) or were

otherwise authorized by law. Many other public statements relate to the findings of Government

investigations (e.g., the July 2, 2007 Press Conference by Brigadier General Bergner) or reflect

statements of fact by U.S. Government officials which are otherwise sufficiently reliable for

purposes of admissibility.

               2.     Statements/Admissions by Co-Conspirators

       Plaintiffs will also seek to admit statements and admissions by agents of the Defendants,

such as Qais Khazali and Ali Musa Daqduq, under Federal Rule of Evidence 804(d)(3) as

statements against interest or under Rule 801(d)(2) as statements of co-conspirators of

Defendants Iran and the IRGC or while acting as agents of Iran and the IRGC. Some of these

statements will be offered directly such as from the aforementioned television interview of Mr.

Khazali. Others may be offered through other U.S. Government reports or public statements

which memorialize the statements. Such statements would ordinarily constitute hearsay within



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the meaning of the Federal Rules. See Mukhtar Yahia Naji al Warafi v. Obama, 704 F. Supp. 2d

32, 39 (D.D.C. 2010) (“interrogation reports and summaries are hearsay evidence”). However, if

such a report containing a summary of factual investigation (including statements by third

parties) is properly admitted under the Rule 803(8), courts have ruled that statements contained

in the report may also be admissible. See also United States v. American Tel. & Tel. Co., 498 F.

Supp. 353, 364 (D.D.C. 1980) (holding that if a public report is sufficiently trustworthy, Rule

803(8)(C) dispenses with the ban on double hearsay).

       On this basis, Plaintiffs may seek to admit admissions by some of the co-conspirators

such as Qais Khazali or Ali Musa Daqduq regarding Iran’s role in the attacks as statements by

party opponents and/or statements of co-conspirators under Rule 801(d)(2) that are contained in

such Government reports or relayed in statements by Government officials.           Provided the

statements are deemed reliable, there would be no constitutional issues admitting otherwise

“testimonial” statements against Iran in a civil case. See Austin v. United States, 509 U.S. 602,

608 (1993) (“The protections provided by the Sixth Amendment are explicitly confined to

criminal prosecutions.”).   Additionally, Rule 807 provides that “a hearsay statement is not

excluded by the rule against hearsay even if the statement is not specifically covered by a

hearsay exception” if “(1) the statement has equivalent circumstantial guarantees of

trustworthiness; (2) it is offered as evidence of a material fact; (3) it is more probative on the

point for which it is offered than any other evidence that the proponent can obtain through

reasonable efforts; and (4) admitting it will best serve the purposes of these rules and the

interests of justice.” Fed. R. Evid. 807. All of the statements upon which Plaintiffs seek to rely

meet this standard.




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               3.     Videos and Social Media

       Plaintiffs will also be seeking the admission of videos and statements posted on websites

operated or controlled by jihadi/militant groups such as the AAH/Khazali Network and its

affiliates taking credit for the Karbala attack and Mr. Al-Taie’s abduction. Courts have generally

held that a party seeking to admit the contents of a website “must show a reasonable likelihood

that the information was posted by the individual or organization to which the postings were

attributed.” Linde v. Arab Bank PLC, 97 F. Supp. 3d 287, 337 (E.D.N.Y. 2015), vacated on

other grounds, -- F.3d ---, 2018 WL 797454, at *1 (2d Cir. Feb. 9, 2018). Under this standard

“clearly authentic evidence is admitted, clearly inauthentic evidence is excluded, and everything

in between is conditionally relevant and admitted for the jury to make the final determination of

authenticity.” State v. Gibson, 2015 Ohio App. LEXIS 1679 (Ohio Ct. App. May 1, 2015).

       Federal Rule of Evidence 901(b) provides parties with broad latitude regarding the ways

that it seeks to meet the basic requirement of authentication. For example, authentication can be

achieved way of expert testimony suggesting the authenticity of the postings. See, e.g., Linde, 97

F. Supp. 3d at 338 (holding that testimony by plaintiff’s expert witness “was sufficient to show a

‘reasonable likelihood’ that [web] postings were authentic, and to allow a reasonable jury to

conclude that the claims of responsibility were indeed issued by Hamas.”). Plaintiffs expect to

rely on this authentication methodology at trial. Once such evidence is authenticated, Plaintiffs

will seek to admit the statements of responsibility for the attacks principally under Federal Rules

of Evidence 801(d)(2), 804(b)(3), and 807.

IV.    CONCLUSION

       Plaintiffs brought this case to hold the Iranian government responsible for the

kidnapping, torture, and extrajudicial killing of Jacob Fritz, Johnathan Bryan Chism, Shawn



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Falter, and Ahmed Al-Taie. The evidence at trial will show that Iran and the IRGC provided

material aid and support to AAH/Khazali Network and Hezbollah which carried out these brutal

acts. Congress has provided a legal mechanism that allows an award of various kinds of

damages against designated foreign states, like Iran, that have chosen to sponsor brutal acts of

international terrorism against innocent parties to advance its political agenda. At the conclusion

of the trial, the families will ask this Court to enter a finding of liability against Defendants.

DATED: March 13, 2018                                   Respectfully Submitted,

                                                        /s/ Steven R. Perles
                                                        Steven R. Perles (No. 326975)
                                                        Edward MacAllister (No. 494558)
                                                        Joshua Perles (No.1031069)
                                                        PERLES LAW FIRM, PC
                                                        1050 Connecticut Ave, NW
                                                        Suite 500
                                                        Washington, DC 20036
                                                        Telephone: 202-955-9055

                                                        /s/ Steven W. Pelak
                                                        Steven W. Pelak (No. 408744)
                                                        Michael J. O’Leary (No. 1014610)
                                                        Gwen S. Green (No. 980495)
                                                        Holland & Hart LLP
                                                        975 F Street, N.W. 9th Floor
                                                        Washington, DC 20004
                                                        Telephone: 202-654-6929

                                                        Attorneys for Plaintiffs




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                                                  APPENDIX A

                               Anticipated Principal Trial Exhibits

                           U.S. Government Reports and Public Statements

     1. Transcript of General Kevin Bergner’s July 2, 2007 Press Conference

     2. Presentation Slides from General Kevin Bergner’s July 2, 2007 Press Conference

     3. U.S. Government Reports of Interviews of Qais Khazali and Ali Musa Daqduq 14

     4. Army Regulation 15-6 Investigating Officer’s Report (including all disclosed exhibits
        and attachments) regarding the January 20, 2007 attack on the Karbala PJCC, dated
        February 15, 2007

     5. U.S. Army Criminal Investigation Command (CID) Report of Investigation, 2006-CID-
        899-77037-5 (including all disclosed exhibits and attachments), dated April 3, 2014
        regarding abduction and murder of Ahmed Al-Taie

     6. Armed Forces Medical Examiner’s Report - Jacob Fritz

     7. Armed Forces Medical Examiner’s Report - Johnathan Chism

     8. Armed Forces Medical Examiner’s Report - Shawn Falter

     9. Armed Forces Medical Examiner’s Report - Ahmed Al Taie

     10. U.S. State Department’s 2007 Country Report on Terrorism dated April 30, 2008

     11. Transcript of April 26, 2007 U.S. Department of Defense Press Briefing by General
         David Petraeus

     12. Iraq: The Crocker-Petraeus Report, Hearing Before the Subcommittee on Foreign
         Relations, United States Senate, September 11, 2007

     13. Presentation Slides from General David Petraeus’s Report at September 11, 2007
         Hearing

     14. Press Conference with General David Petraeus and Ryan Crocker, U.S. Ambassador to
         Iraq, September 12, 2007 (emphasis added).

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   Plaintiffs have pending requests to the U.S. Government for production of these documents. Plaintiffs do not
intend to file a motion to compel production. Plaintiffs continue to work with U.S. Government personnel to obtain
these documents. However, in the unlikely event that Plaintiffs’ efforts fail, Plaintiffs reserve the right to present
similar factual information through other witnesses’ testimony or documentary evidence.

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                     Anticipated Principal Trial Exhibits


15. Report to Congress on the Situation in Iraq, General David H. Petraeus Commander,
    Multi-National Force–Iraq, April 8, 2008.

16. U.S. Department of the Treasury Press Release, “Treasury Designates Hizballah
    Commander Responsible for American Deaths in Iraq,” dated November 19, 2012

17. United States Central Command Reports on Search for Ahmed Al Taie

18. U.S. Office of Military Commissions Charge Sheet initiating charges against Ali Musa
    Daqduq for January 2007 Karbala attack, dated January 3, 2012

19. News Release, U.S. Department of Defense, DOD Identifies Remains of Ahmed Al
    Taie, Feb. 27, 2012
                              Videos or Website Postings

20. Video entitled “5.20.2015 – Leauge [sic] of the Righteous (Asai'b Ahl Alhaq) - Generals
    Downfall” obtained from Shiite website containing body camera footage of the PJCC
    compound in Karbala, Iraq

21. February 2007 “Proof of Life” Video of Ahmed Al-Taie obtained from Shiite militia
    website.

22. Video and Transcript of Frontline Interview with Qais Khazali, “Bitter Rivals: Iran and
    Saudi Arabia,” February 21, 2018 detailing Iran’s support of Special Groups in Iraq.

                         Documentary Evidence and Photographs

23. Photographs of PJCC Compound in Karbala, Iraq

24. Aerial Map of PJCC

25. Aerial Photographs of SUV Recovery near Karbala, Iraq

26. January 20, 2007 Photographs - Victims at Recovery Site near Karbala, Iraq

27. January 20, 2007 Photographs of SUV Registration near Karbala, Iraq

28. January 20, 2007 Photographs of Recovered Flak Jackets

29. January 20, 2007 Photographs of Recovered Masks

30. January 20, 2007 Photographs of Recovered Helmets


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                                   Anticipated Principal Trial Exhibits

       31. January 20, 2007 Photographs of Twelve Recovered Military Shirts

       32. January 20, 2007 Photographs of Recovered Military Boots

       33. January 20, 2007 Photographs of Data Plate and VINs of SUVs

       34. January 20, 2007 Photographs of Recovered M-16 Magazines

       35. 22 page “in-depth planning and lessons learned” document relating to the Karbala attack
           on January 20, 2007 seized from Khazalis and Mr. Daqduq at time of their arrest in
           March 2007 15

       36. Mr. Daqduq’s personal diary and “how to” training manuals on tactics seized at time of
           his arrest seized from Khazalis and Mr. Daqduq at time of their arrest in March 2007

       37. false identification documents seized from Khazalis and Daqduq seized at time of their
           arrest in March 2007

       38. “11 separate documents that recorded attacks against Coalition Forces” seized from
           Khazalis and Daqduq seized at time of their arrest in March 2007

       39. Photographs - Jacob Fritz

       40. Photographs - Johnathan Chism

       41. Photographs - Shawn Falter

       42. Photographs - Ahmed Al Taie

       43. Estate Documents - Jacob Fritz

       44. Estate Documents - Johnathan Chism

       45. Estate Documents - Shawn Falter

       46. Estate Documents - Ahmed Al Taie

       47. Photographs - Jacob Fritz and Family

       48. Photographs - Johnathan Chism and Family



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     See the preceding footnote.

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                    Anticipated Principal Trial Exhibits

49. Photographs - Shawn Falter and Family

50. Photographs - Ahmed Al Taie and Family




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